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                       ESTADO LIBRE ASOCIADO DE PUERTO RICO
                           TRIBUNAL DE PRIMERA INSTANCIA
                            SALA SUPERIOR DE CAROLINA
                                             *
 BARBARA PALOMINO ALONSO                            CIVIL:
     QUERELLANTE
                                             *
           VS.                                      SOBRE
                                             *

                                    *
 Stonemor Puerto Rico LLC
 Stonemor Puerto Rico Cemetery and *
                                    *
 Funeral Inc.
 Stonemor Puerto Rico Subsidiary LLC*
                                    *
 Stonemor GP LLC
 Aseguradoras A y B                 *
                                                    DESPIDO INJUSTIFICADO; LEYES 80
                                             *
                                                    DE 1976; LEY 100 DE 1959; TITLE VII *
                                             *
 QUERELLADOS                                        OF THE CIVIL RIGHTS ACT, LEY 115,
                                             *
                                                    ART. 1802
                                             *
                                                    (BAJO PROCEDIMIENTO
                                             *
                                                    SUMARIO 0 LEY 2)

                                          QUERELLA
 AL HONORABLE TRIBUNAL:
 Comparece Ia parte Querellante, Barbara Palomino Alonso, por conducto de la abogada
 que suscribe, quien muy respetuosamente EXPONE, ALEGA V SOLICITA:
             La parte Querellante, Barbara Palomino Alonso, (en adelante
             PerjudicadalQuerellante) es mayor de edad(+40), soltera, empleada y vecina de
             Carolina con direcciôn Cond. Villa Cristôbal, Calle Violeta #3 Apt. 906, Carolina,
             PR 00979.
      2.     La Sra. Palomino (cubana, catOlica) era empleada regular o a tiempo completo
             para la(s) querellada(s) por 6 años y 2 meses.
      3.     La parte Querellada son afiliadas o subsidiarias con nombre (en adelante
             Patrono) son corporaciones dedicadas a servicios funerarios como autorizadas
             por información y creencia a realizar negocios en el Estado Libre Asociado de
             Puerto Rico con direcciôn postal en: Stonemor Puerto Rico Cemetery and
             Funeral Inc. 311 Veteran Highway Suite B Levittown, PA 19056, cuyo Agente
             Residente es: CSC Prentice Hall 105 Ponce de LeOn, San Juan, PR 00917.
             Stonemor Puerto Rico LLC con direcciOn de agente residente en The Prentice
             Hall Corporation System Puerto Rico Inc. CIO Fast Solutions LLC con Citi Tower
             252 Ponce de Leon Floor 20, San Juan, PR 00918. Stonemor Puerto Rico
             Subsidiary LLC con dirección de agente residente en: The Prentice Hall
             Corporation System Puerto Rico Inc. CIO Fast Solutions LLC Citi Tower 252
             Ponce de Leon Floor 20, San Juan, PR 00918. Stonemor GP LLC corporaciOn
             foránea autorizada a hacer negocios en Puerto Rico con agente residente en
             The Prentice Hall Corporation System Puerto Rico Inc. C/O Fast Solutions LLC
             Citi Tower 252 Ponce de Leon Floor 20, San Juan, PR 00918
      4.     Las corporaciones antes mencionadas pagaban los salarios y/o ejercIan las
             funciones de patrono de la Sra. Palomino at igual que de los más de 20
             empleados que tienen en sus facilidades en la isla.

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 5.    Las co-querelladas Aseguradoras A y B son, por información y creencia,
       entidades jurIdicas realizando negocios en Puerto Rico por autorizaciOn del
       Departamento de Estado y del Comisionado de Seguros. En estos momentos,
       desconocemos su verdadero nombre. Se entiende que estas compañias
       emitieron pôlizas en vigencia a la fecha de los hechos que cubrIan y responden,
       de acuerdo a su pOliza por hechos conforme se desprende de la querella, por
       los actos de las corporaciones antes mencionadas sus oficiales, agentes y
       empleados.
                             HECHOS RELEVANTES
 1.    El 13 de abril de 2018 la Sra. Palomino fue despedida constructivamente de su
       empleo por el patrono.
 2.    La Querellante trabajó con la parte(s) Querellada(s) desde febrero de 2012.
 3.    La Sra. Palomino trabajO como consejera familiar de servicios funerarios y su
       desempeño fue uno de excelencia donde logrO premios como los mejores
       nümeros en ventas para la region.
 4.    La Sra. Palomino fue victima de discrimen, bajo un ambiente hostil y de
       represalias laboral por parte de la gerencia y companeros.
 5.    Estas actuaciones se incrementaron luego de que doña Barbara se quejara con
       Omayra Sanchez (evangelica/protestante, puertorriquena, menor de 40 anos)
       encargada de Recursos Humanos de que hablan puesto unas citas religiosas
       en la pantalla de la computadora que usaba la querellante. La compareciente le
       manifestO que por regulaciOn federal/estatal ésta no debla permitir que se
       hicieran ese tipo de manifestaciôn religiosa en el lugar del trabajo. Va la Sra.
       Palomino se habla percatado que la Sra. Sanchez estaba contratando
       "hermanos" de la iglesia o gente de su mismo pensar religioso, que actuaban en
       el lugar del trabajo como si el mismo fuera parte de la iglesia.
 6.    Tan pronto se quejO de las manifestaciones religiosas se comenzO contra la
       Sra. Palomino, un patron de conducta hostil ya que comenzaron a hacer
       comentarios inapropiados contra ella por parte no solo de la gerencia sino
       también companeros. Eventualmente Recursos Humanos la movió a otra area
       del negocio o en otra sucursal, donde ella se vio afectada econOmicamente ya
       que no producla lo mismo que cuando estaba en central, lo que tuvo un impacto
       económico en el salario de la compareciente.
 7.   La movieron a la Sra. Palomino a una "esquina", haciéndole la vida imposible
      para que no pudiera producir y asI lucir mal cuando bajaran sus nümeros de
      ventas.
 8.   Coma cuestión de hecho la compareciente se ganaba como norma un salario
      de sabre $1 00k al año (salario base, beneficios, más comisiones por ventas y
      bonos de producciOn), en el puesto de trabajo donde laboró par 6 años y con el
      cambio a la nueva localidad a duras penas haria lo que se estima la mitad en
      salario par la merma en comisiones de ventas.
 9.   No solo eso, sino que el patron de discrimen hacia la trabajadora fue uno tal que
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           se inventaron o tergiversaron situaciones hasta suspenderla de empleo y
           sueldo.
     10.   La compareciente se vio tan afectada que en o para el 13 de abril de 2018
           cuando se entrego el bono por producción por 2017, ella fue a la ünica persona
           que no se Ic pagaron.
     11.   La querellante entiende que este patrOn de conducta fue uno dirigido para
           provocar que ella se fuera o renunciara del negocio ya que no pudo aguantar
           mas el trato desigual al que fue sujeto.
     12.   La parte Querellada se vio obligada a renunciar y aunque se fue a otro empleo
           con otro patrono en un area similar no gana la misma cantidad de dinero que
           con la(s) querellada(s).
     13.   Se entiende que se despidiô constructivamente a la Sra. Palomino, en o para el
           13 de abril de 2018, etlo en contravención de la ley, reglamentos y
           jurisprudencia aplicables.
     14.   La Sra. Palomino habia radicado ante la EEOC una querella de discrimen en
           jun10 de 2017 otra por represalias el 12 de febrero de 2018. Tuvo que radicar
           una querella por represalias ya que el patrono comenzO a hacerle la vida
           imposible, tomar sus pertenencias y ponerlas en bolsas de basura, darle
           instrucciones que no le daban at resto del equipo de trabajo y luego le daban
           reprimendas improcedentes, entre otros.
     15.   De igual manera la parte querellada no le ha remitido a la Sra. Palomino el pago
           de su bono de producción por el año 2017, que at momento del despido era un
           derecho adquirido y se entiende es por la cantidad aproximada de $3,000.
     16.   La parte Querellante ha sufrido daños y angustias mentales que se calculan en
           una cantidad no menor de $100,000.00.
     17.   De igual manera la parte querellante solicita que se le pague su bono de
           producción, asi como la compensación correspondiente al amparo de la #80.
     18.   Consecuentemente, se solicita en adición al pago de toda penalidad a la que
           tenga derecho y un 25% de honorarios de abogado.
     19.   Se solicita el pago del "back pay","front pay" y/o la reinstalaciOn a su puesto de
           trabajo con los mismos beneficios que tenla.
     20.   La parte Querellante se acoge at procedimiento especial de carácter sumario
           que establece la Ley #2 del 17 de octubre de 1961, segün y que la cobijaba at
           momento de comenzar su trabajo con la parte querellada.
     21.   La Sra. Barbara Palomino Alonso tenla una expectativa de continuartrabajando
           para su patrono hasta su retiro. Todas las acciones antes descritas le han
           causado daños y angustias mentales al ver una merma no solo en ingresos sino
           que fue vIctima de un patron de trato desigual por pertenecer a la clase
           protegida, de ambiente hostil IaboraI y como de represalias.


                                 DERECHO AMICABLE
     1.    La Ley Nim. 80 de 30 de mayo de 1976, 29 L.P.R.A., sec. 185a, mejor

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           conocida como ley de Despido Injustificado (Ley de Mesada), (en adelante Ley
           80).
     2.    La Ley Nüm. 100 de 30 de jun10 de 1959, 29 L.P.R.A., sec. 146, mejor
           conocida como Ley Contra el Discrimen en et Empleo, (en adelante Ley 100).
     3.    La Ley 80, supra, procura proteger a los empleados de cualquier industria,
           comercio o negoclo en Puerto Rico de los efectos adversos de los despidos
           injustificados. A la vez que otorga unos remedios consubstanciales con los
           danos causados por un despido injustificado, busca desalentar la incidencia de
           este tipo de despido. 1976 Leyes de Puerto Rico, pág. 268. Citado en Garcia
           Burgos V. EELA, 2007 T.S.P.R. 29. As! la ley dota al empleado despedido sin
           justa causa del derecho a recibir de su patrono el sueldo correspondiente a
           entre dos y seis meses par concepto de indemnización y una indemnizaciOn
           progresiva adicional equivalente a entre una y tres semanas por cada año de
           servicio. 29 L.P.R.A. sec. 185a; Delgado Zayas v. Hosp. Int. Med. Avanzada,
           137 D.P.R. 630, 642-643 (1994). Esta compensaciOn pretende "brinda[r] a los
          trabajadores que han sido despedidos sin justa causa la oportunidad de
           disfrutar de una indemnizaciOn que les permita suplir sus necesidades básicas
           durante el tiempo que les pueda tomar conseguir un nuevo empleo". Diaz v.
          Wyndham Hotel Corp., 155 D.P.R. 364, 375 (2001).
     4.   Para ser acreedor a la protecciôn y a los beneficios que ofrece la Ley 80, supra,
          el empleado separado de su cargo debe cumplir con los siguientes requisitos:
          (a) la existencia de una relación obrero-patrono en algUn negocio, industria o
          sitio de empleo; (b) que la labor rendida sea remunerada; (c) que el trabajador
          haya sido contratado sin tiempo determinado; (d) que el empleado haya sido
          despedido sin que medie justa causa. C. Zeno Santiago y otros, Tratado de
          Derecho del Trabajo, San Juan, Puerto Rico, Publicaciones JTS, 2003, Tomo I,
          pág. 98; Departamento del Trabajo y Recursos Humanos, Gula revisada para la
          aplicaciôn de la Ley NUm. 80 de 30 de mayo de 1976, enmendada, 21 de
          septiembre de 2000, pág. 27-8. Citado en Garcia Burgos v. AEELA, 2007,
          T.S.P.R. 29.
     5.   En 10 esencial, ser despedido sin justa causa para ello tiene efectos morales,
          económicos, sociales yjurIdicos comparables para todos los empleados. Unos
          y otros requieren una indemnizaciOn que les permita atender sus necesidades
          bâsicas y las de sus familias durante el tiempo que les pueda tomar conseguir
          un nuevo empleo. Garcia Burgos v. AEELA ante.
    6.    La Ley Nüm. 80, supra, tiene un valioso propOsito social y coercitivo, a saber,
          sancionar que un patrono despida a su empleado u empleada salvo que
          demuestre una causa justificada para ella. En otras palabras, tiene el propósito
          de brindarle mayor protecciôn a los trabajadores de Puerto Rico. Igualmente,
          tiene un fin reparador, pues provee remedios justicieros y consubstanciales con
          los daños que puede haberle causado a un cesanteado un despido injustificado.
           Beauchamp v. Holsum Bakers of P.R., 116 D.P.R. 522, 526 (1985). En vista

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           de su propósito reparador, la Ley 80, supra, debe siempre interpretarse de
           manera liberal y favorable at empleado. Belk v. Martinez, res. El 30 de junio de
           1998, 146 D.P.R. 215; Martinez Reyes v. Tribunal Superior, 104 D.P.R. 407
           (1975).
     7.    La compensación que al amparo de la Ley 100 se concede, incluye, entre otras,
           la pérdida económica segun los ingresos y beneficios que un Demandante dejô
           de percibir desde la fecha del despido hasta la fecha de la Sentencia. Odriozola
           v. S. Cosmetic Dist. Corp., 116 D.P.R. 485,505-506(1985). Citaen Maldonado
           Rodriguez v. Banco Central, 138 D.P.R. 268 (1995). Dicha compensaciOn P01
           ingreso dejados de percibir es parte y goza del mismo carácter de ganancialidad
           que Ic hemos adjudicado at lucro cesante. Y, at referirnos at lucro cesante, lo
           hemos calificado como "ingresos dejados de percibir'. En este sentido la
           reclamaciôn referente a ingresos dejados de percibir queda inmersa dentro del
           concepto de lucro cesante; no son susceptibles de ser compensados
           separadamente. Maldonado Rodriguez v. Banco Central, ante.
     8.    Siendo los salarios elemento esencial de la relaciôn obrero-patronal, el lucro
           cesante está claramente comprendido dentro de los daflos incluidos bajo la Ley
           Nüm. 100, supra.
     9.    La Sra. Palomino radicô la querella ante la EEOC basándose en discrimen
           debido a su condición de persona protegida, at discrimen sufrido y las
           represalias por haberse quejado con la agencia federal.
     10.   La Sra. Palomino fue despedida constructivamente de su cargo sin que haya
           mediado justa causa para ello, y tat y como to dispone la Ley 80, corresponde
           que su patrono le pague la correspondiente indemnización y mesada, que en
           total se estima en una cantidad no menor de $80,000 dOlares.
     11.   Corresponde que se le conceda a la Querellante una partida por los salarios
           que ha dejado de devengar luego que se quejó y que se le transfiriô como
           represalia. Dichos salarios o ganancias salariales como de bonificaciones
           dejadas de devengar se calculan en una cantidad no menor de $150,000.
     12.   El pago de du bono de producciOn correspondiente para 2017 que aproxima los
           $3,000.
     13.   Una partida por danos, morales y angustias mentales en una cantidad no menor
           de $100, 000.
     14.   Se solicita se le conceda una partida de "back pay", "front pay" y/o la
           reinstalaciôn a su puesto de trabajo.
     15.   Entendemos las partes co-querelladas violaron el TItulo VII del Cvil Rights Act, u
           otros estatutos y/o regulaciones federates.
     16.   La querellada violó la ley 115 de 20 de diciembre de 1991 ningün patrono puede
           despedir a ningün empleado por que ofrezca o intente ofrecer verbalmente o por
           escrito cualquier testimonio, expresion o información ante un foro legislativo,
           administrativo o judicial en PR.
     17.   Como resultado de la actuaciOn de los Querellada(s) del caso, la parte


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             compareciente ha recibido el impacto negativo de sufrimientos y angustias
             mentales calculados en no menos de $100,000.00.
       18.   De igual modo la perjudicada tiene derecho a todas las penalidades en ley,
             costas, gastos y honorarios de abogados a razón del 25% de la totalidad.
       19.   Las partes co-querelladas son solidariamente responsables a la parte
             Querellante par los actos culposos y omisiones negligentes par ellos efectuados
             por sus empleados, agentes, oficiales o representantes.
       20.   La parte se reserva el derecho de traer observaciones o alegaciones
             particulares adicionales no contenidas que se puedan encontrar baja el
             descubrimiento de prueba u otro media.
                                          SUPLICA
         POR TODO LO CUAL, se solicita muy respetuosamente de este Honorable
Tribunal que tome conocimiento de to antes expuesto, declare HA LUGAR la presente
Querella y en su consecuencia, condene a las co-querelladas, en forma solidaria, a
pagarle a la parte Querellante las sumas reclamadas en la Querella, al igual que el 25% de
honorarios de abogado, asi coma todas las penalidades en ley, las costas, gastos e
intereses acumulados desde la radicación de la Demanda o todos los remedios a los que
tenga derecho.
         RESPETUOSAMENTE SOMETIDA. En San Juan para Carolina, Puerto Rico, hoy
20 de diciembre de 2018.

                                           fl LCDA. ALMA V. DURAN NIEVES-RUA 15,153
                                           DLC, L.L.C.
                                           Cond. Altagracia 5C #262 Calle Uruguay
                                           San Juan, P.R. 00917
                                           Tel:(787) 432-4444
                                           E-mail: duranleqalconsulting(qmail.com




  Esta demanda no cancela sellos por ser una reclamación bajo las ley 2 sobre
procedimiento sumario.




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                    ESTADO LIBRE ASOCIADO DE PUERTO RICO
                        TRIBUNAL DE PRIMERA INSTANCIA
                         SALA SUPERIOR DE CAROLINA

BARBARA PALOMINO ALONSO            *   CIVIL: CA2018CV03609 (404)
    QUERELLANTE                    *
                                   *
     VS.                           *   SOBRE:
                                   *
Stonemor Puerto Rico LLC           *
Stonemor Puerto Rico Cemetery and *
Funeral Inc.                       *
Stonemor Puerto Rico Subsidiary LLC*
Stonemor GP LLC                    *
Aseguradoras A y B                 *   DESPIDO INJUSTIFICADO; LEYES 80
                                   *   DE 1976; LEY 100 DE 1959; TITLE VII *
QUERELLADOS                        *   OF THE CIVIL RIGHTS ACT, LEY 115,
                                   *   ART. 1802
                                   *   (BAJO PROCEDIMIENTO
________________________________ *     SUMARIO O LEY 2)
  URGENTE SOLICITUD DE ANOTACIÓN DE REBELDÍA A TODAS LAS PARTES
                               QUERELLADAS
AL HONORABLE TRIBUNAL:
Comparece la parte Querellante, Bárbara Palomino Alonso, por conducto de la abogada
que suscribe, quien muy respetuosamente EXPONE, ALEGA Y SOLICITA:
    1.     La parte Querellante, Barbará Palomino Alonso, emplazó oportunamente a la a
           todas las co-demandadas el 21 de diciembre de 2018. Anejamos copia de los
           emplazamientos diligenciados a todas las co-querelladas.
    2.     Las co-querelladas tenían en o hasta el 5 de enero de 2019 para contestar la
           querella. Al momento de radicar esta moción las parte co-querelladas no han
           contestado la querella de marras.
    3.     No habiendo oportunamente contestado o solicitado prórroga de conformidad al
           procedimiento sumario y su jurisprudencia aplicable solicitamos se anote la
           rebeldía contra todas las partes co-querelladas dictando sentencia de
           conformidad y/o se señale la correspondiente vista de daños.
                                        SÚPLICA
         POR TODO LO CUAL, se solicita muy respetuosamente de este Honorable
Tribunal que tome conocimiento de lo antes expuesto, declare HA LUGAR la presente
Querella y en su consecuencia, condene a las co-querelladas, en forma solidaria, a
pagarle a la parte Querellante las sumas reclamadas en la Querella, al igual que el 25% de
honorarios de abogado, así como todas las penalidades en ley, las costas, gastos e
intereses acumulados desde la radicación de la Demanda o todos los remedios a los que
tenga derecho la parte compareciente.
         RESPETUOSAMENTE SOMETIDA. En San Juan para Carolina, Puerto Rico, hoy 8
de enero de 2019.
                                         f/ LCDA. ALMA Y. DURÁN NIEVES-RUA 15,153
                                         Cond. Altagracia 5C #262 Calle Uruguay
                                         San Juan, P.R. 00917
                                         Tel:(787) 432-4444
                                         E-mail: duranlegalconsulting@gmail.com

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                                   ESTADO LIBRE ASOCIADO DE PUERTO RICO
                                       TRIBUNAL GENERAL DE JUSTICIA
                                      TRIBUNAL DE PRIMERA INSTANCIA
                                       CENTRO JUDICIAL DE Carolina
                                        SALA SUPERIOR DE Carolina

           BARBARA PALOMINO ALONSO                              &$621Ò0           CA2018CV03609 (CIVIL 404)
                  VS
 STONEMOR PUERTO RICO CEMENTERY AND                                               PROCEDIMIENTO SUMARIO DE
        FUNERAL INC. Y OTROS                                    SOBRE:      RECLAMACIONES LABORALES (LEY 2-1961)




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            DURANLEGALCONSULTING@GMAIL.COM

            STONEMOR GP LLC
            THE PRENTICE HALL CORP C/O FAST SOLUTIONS LLC, CITI TOWER 252 PONCE DE LEON
            FLOOR 20, SAN JUAN, PUERTO RICO, 00918
            STONEMOR PUERTO RICO CEMENTERY AND FUNERAL INC.
            CSC/PRENTICE HALL C/O FAST SOLUTIONS LLC, 105 AVE. PONCE DE LEON, SAN JUAN,
            PUERTO RICO, 00917
            STONEMOR PUERTO RICO LLC
            PRENTICE HALL C/O FAST SOLUTIONS LLC CITI TOWER, 252 AVE PONCE DE LEON FLOOR
            20, SAN JUAN, PUERTO RICO, 00918
            STONEMOR PUERTO RICO SUBSIDIARY LLC
            THE PRENTICE HALL CORP. C/O FAST SOLUTIONS LLC, CITI TOWER 252 AVE. PONCE DE
            LEON FLOOR 20, SAN JUAN, PUERTO RICO, 00918


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enero de 2019.


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CON LUGAR. ASIMISMO, QUEDA SENALADA VISTA EN REBELDIA.                           LA MISMA SE CALENDARIZA PARA
EL 29 DE ENERO DE 2019, 2:00PM. [7]
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SE LE ADVIERTE que al ser una parte o su representante legal en el caso sujeto a esta
25'(1XVWHGSXHGHSUHVHQWDUXQUHFXUVRGHDSHODFLyQUHYLVLyQRFHUWLRUDULGH
FRQIRUPLGDGFRQHOSURFHGLPLHQWR\HQHOWpUPLQRHVWDEOHFLGRSRUOH\UHJODR
reglamento.


&(57,),&2TXHODGHWHUPLQDFLyQHPLWLGDSRUHO7ULEXQDOIXHGHELGDPHQWHUHJLVWUDGD\
DUFKLYDGDKR\GHHQHURGH\TXHVHHQYLyFRSLDGHHVWDQRWLILFDFLyQDODV
personas antes indicadas, a sus direcciones registradas en el caso conforme a la
normativa aplicable. En esta misma fecha fue archivada en autos copia de esta
QRWLILFDFLyQ




En    Carolina, Puerto Rico, a 10 de enero de 2019.




          0$5,/<1$3217(52'5Ë*8(=                                 Por:     f/DENISSE     MINERVA TORRES     RUIZ
               Nombre del (de la)                                                  Nombre y Firma del (de la)
             Secretario(a) Regional                                           Secretario(a) Auxiliar del Tribunal




2$7)RUPXODULRÒQLFRGH1RWLILFDFLyQ6HQWHQFLDV5HVROXFLRQHVÏUGHQHV\0LQXWDV
(Noviembre 2016) / SUMAC
